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Bates Number Date    To                           From                    File Name: YYYYMMDD_author_file_description.pdf
FWS-000001 12/12/219 FDEP                         EPA                     20191212_EPA_ltr_designating_FDEP_nonfed_rep_ESA_consult
                                                                          20191213_EPA_ltr_informing_USFWS_USACE_FDEP_nonfed_rep_statusE
FWS-000003   12/13/2019 DOI, DOC                  EPA                     SA_consult

FWS-000004   12/20/2019 DOI, DOC, FDEP            Bettencourt, DOI        20191220_DOI_coord_FDEP_USACE_EPA_state_404_application_process
FWS-000006   12/26/2019 Rauschenberger, FWS       Duncan, FDEP            20191226_FDEP_draft_state_404_rule_62-331
FWS-000007   12/26/2019                                                   20191226_FDEP_draft_state_404_rule_62-331_attach1
FWS-000011   12/26/2019                                                   20191226_FDEP_draft_state_404_rule_62-331_attach2
FWS-000069   12/26/2019                                                   20191226_FDEP_draft_state_404_rule_62-331_attach3
FWS-000111   12/26/2019                                                   20191226_FDEP_draft_state_404_rule_62-331_attach4
FWS-000112   12/26/2019                                                   20191226_FDEP_draft_state_404_rule_62-331_attach5
                        Truitt and Armour,
FWS-000113   1/23/2020 FDEP                       Williams, FWS           20200123_USFWS_email_FDEP_discuss_develop_draft_FDEP_BA
                                                                          20200124_USFWS_email_DOI_EPA_FDEP_discuss_FL404_applic_process_
FWS-000117   1/24/2020 Mason (FDEP), et al.,      Bettencourt, DOI        ESA_consult

FWS-000119   1/29/2020 Dziergowski, FWS           Duncan, FDEP            20200129_USFWS_email_advice_FDEP_drafting_biological_assessment
                                                                          20200129_USFWS_email_advice_FDEP_drafting_biological_assessment_2
FWS-000122   1/29/2020                                                    0191205_doc
                       Dohner, GHD
FWS-000129   2/11/2020 Consultants               Rauschenberger, FWS 20200211_USFWS_email_GHDconsultants_to_FDEP_BO_BE_examples
                                                                       20200211_USFWS_email_GHDconsultants_to_FDEP_BO_BE_examples_R4
FWS-000130   2/11/2020                                                 _BO_template
                                                                       20200211_USFWS_email_GHDconsultants_to_FDEP_BO_BE_examples_U
FWS-000173   2/11/2020                                                 SFWS_BO_EPA316b_2ndCirCt
FWS-000247   2/19/2020   Mason (FDEP), et al., Rauschenberger, FWS 20200219_FDEP_email_proposed_state_404_rule
FWS-000249   2/25/2020   Herrington (FWS) et al. Mason (FDEP), et al., 20200225_FDEP_email_tranm_FDEP_draft_biological_assessment_v1
                                                                       20200225_FDEP_email_tranm_FDEP_draft_biological_assessment_v1_BA
FWS-000250   2/25/2020                                                 pdf
FWS-000520   2/27/2020   Rauschenberger, FWS Duncan, FDEP              20200227_FDEP_email_draft_MOAs_FDEP_EPA_Corps_MOAs
FWS-000521   2/27/2020                                                 20200227_FDEP_email_draft_MOAs_FDEP_EPA_Corps_CorpsMOA
FWS-000529   2/27/2020                                                 20200227_FDEP_email_draft_MOAs_FDEP_EPA_Corps_EPA_MOA
                                                                       20200303_USFWS_email_discuss_biological_assessment_terminology_FD
FWS-000543   3/3/2020    Rauschenberger, FWS Duncan, FDEP              EP


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FWS-000545   3/6/2020    Rauschenberger, FWS     Duncan, FDEP            20200306_FDEP_email_draft_FDEP_FWC_USFWS_MOU_species_coord
                                                                         20200306_FDEP_email_draft_FDEP_FWC_USFWS_MOU_species_coord_a
FWS-000546   3/6/2020                                                    ttach1
                                                                         20200306_FDEP_email_draft_FDEP_FWC_USFWS_MOU_species_coord_a
FWS-000555   3/6/2020                                                    ttach2
FWS-000560   3/17/2020 Rauschenberger, FWS       Duncan, FDEP            20200317_FDEP_draft_stressor_table_BA_contents
FWS-000561   3/17/2020                                                   20200317_FDEP_draft_stressor_table_BA_contents_attach1

FWS-000609   3/18/2020 Duncan, FDEP         Rauschenberger, FWS          20200318_USFWS_comments_FDEP_draft_stressor_table_BA_contents
FWS-000611   3/21/2020                                                   20200321_FDEP_email_discuss_BA_EPA_screening
FWS-000612   3/21/2020                                                   20200321_FDEP_email_discuss_BA_EPA_screening_attach1
                       Rauschenberger, FWS,
FWS-000615   3/21/2020 et al.               Duncan, FDEP                 20200321_FDEP_email_discuss_BA_terminology
FWS-000617   3/21/2020                                                   20200321_FDEP_email_discuss_BA_terminology_attach1
                                                                         20200324_USFWS_email_transm_comments_FDEP_biological_assessmen
FWS-000619   3/24/2020 Duncan, FDEP, et al.      Tawes, FWS              t_v1
                                                                         20200324_USFWS_email_transm_comments_FDEP_biological_assessmen
FWS-000620   3/24/2020                                                   t_v1_attachment_draft_BA
                                                                         20200324_USFWS_email_transm_comments_FDEP_biological_assessmen
FWS-000714   3/24/2020                                                   t_v1_attachment_EPA_screen
                       Rauschenberger, FWS,
FWS-000719   3/25/2020 et al.               Duncan, FDEP         20200325_FDEP_draft_flowchart_USFWS_comments
FWS-000721   3/25/2020                                           20200325_FDEP_draft_flowchart_USFWS_comments_attach1
                       Rauschenberger, FWS,
FWS-000722   3/27/2020 et al.               Duncan, FDEP         20200327_FDEP_email_discuss_epa_screening
FWS-000723   3/27/2020                                           20200327_FDEP_email_discuss_epa_screening_attach1
                                            Rauschenberger, FWS,
FWS-000728   3/30/2020 Duncan, FDEP         et al.               20200330_USFWS_comments_FDEP_drafft_species_coord_process
                                                                 20200330_USFWS_comments_FDEP_drafft_species_coord_process_attac
FWS-000731   3/30/2020                                           h1
                                                                 20200331_USFWS_addedcomments_FDEP_drafft_species_coord_process
FWS-000737   3/31/2020                                           _attach1
                                                                 20200331_USFWS_addedcomments_FDEP_drafft_species_coord_process
FWS-000747   3/31/2020                                           _attach2


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                                                                        20200331_USFWS_addedcomments_FDEP_drafft_species_coord_process
FWS-000748   3/31/2020                                                  _attach3

FWS-000749   3/31/2020 Duncan, FDEP, et al.    Rauschenberger, FWS 20200331_USFWS_addedcomments_FDEP_draft_species_coord_process
                       Rauschenberger, FWS,
FWS-000752   4/1/2020 et al.                   Duncan, FDEP          20200401_FDEP_draft_avoidance_minimization_measures
FWS-000753   4/1/2020                                                20200401_FDEP_draft_avoidance_minimization_measures_attach1
FWS-000760   4/28/2020 Herrington (FWS) et al. Mason (FDEP), et al., 20200428_FDEP_1email_transm_draft_biological_assessment_v2
FWS-000761   4/28/2020                                               20200428_FDEP_draft_biological_assessment_v2

FWS-001052   5/21/2020                                                  20200521_EPA_FR_notice_request_comments_404g_ESA_consult_policy
FWS-001055   5/28/2020 Duncan, FDEP             Tawes, FWS              20200528_FWS_1email_transm_comments_draft_FDEP_BA_v2
FWS-001056   5/28/2020                                                  20200528_FWS_comments_draft_FDEP_BA_v2
FWS-001362   6/18/2020 Rauschenberger, FWS      Duncan, FDEP            20200618_FDEP_email_transm_draft_biological_assessment_v3.0

FWS-001363   6/18/2020                                              20200618_FDEP_email_transm_draft_biological_assessment_v3.0_attach
                                                                    20200701_USFWS_email_to_FDEP_1USFWScomments_draft_FDEP_BAv3
FWS-001870   7/1/2020    Duncan, FDEP           Rauschenberger, FWS _MOU_
                                                                    20200701_USFWS_email_to_FDEP_Attachement_USFWS_comments_BAv
FWS-001871   7/1/2020                                               3
                                                                    20200701_USFWS_email_to_FDEP_Attachement_USFWS_comments_MO
FWS-002175   7/1/2020                                               U
FWS-002187   8/7/2020                                               20200807_FDEP_ltr_EPA_req_assum_404
                       Walsh and
FWS-002188   8/11/2020 Hinzman,FWS              Tawes, FWS              20200811_FDEP_state_404_trng_USFWS_invite_materials
FWS-002193   8/11/2020                                                  20200811_FDEP_state_404_trng_USFWS_invite_materials_40cfr120
FWS-002198   8/11/2020                                                  20200811_FDEP_state_404_trng_USFWS_invite_materials_62-330_1
FWS-002353   8/11/2020                                                  20200811_FDEP_state_404_trng_USFWS_invite_materials_62-330_2
FWS-002526   8/11/2020                                                  20200811_FDEP_state_404_trng_USFWS_invite_materials_62-330_3
                                                                        20200811_FDEP_state_404_trng_USFWS_invite_materials_62-
FWS-002540   8/11/2020                                                  331_404handbook
                                                                        20200811_FDEP_state_404_trng_USFWS_invite_materials_62-
FWS-002602   8/11/2020                                                  331_adoptedRule
                                                                        20200811_FDEP_state_404_trng_USFWS_invite_materials_FDEP_FWC_U
FWS-002681   8/11/2020                                                  SFWS_MOU


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FWS-002694   8/11/2020                                                20200811_FDEP_state_404_trng_USFWS_invite_materials_FDEPSHPO
FWS-002711   8/11/2020                                                20200811_FDEP_state_404_trng_USFWS_invite_materials_FS373
FWS-002713   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits
FWS-002715   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits_attach_app_404
FWS-002725   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits_attach_app_sec_d
FWS-002736   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits_attach_app_singlefam
FWS-002741   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits_attach_app_wetlands
FWS-002751   8/17/2020                                                20200817_FDEP_staff_trng_indiv_gen_permits_attach_exempt_rule
FWS-002756   8/19/2020 Rauschenberger, FWS        Duncan, FDEP        20200819_FDEP_email_to_USFWS_re_404_app_submitted_to_EPA
FWS-002759   8/19/2020                                                20200819_FDEP_email_to_USFWS_re_404_attachment_DeSantis
FWS-002760   8/19/2020                                                20200819_FDEP_email_to_USFWS_re_404_attachment_Ortel
FWS-002877   8/20/2020                                                20200820_FDEP404_app_package_coverpage
FWS-002879   8/20/2020                                                20200820_FDEP404_app_package_DEP_ARMY_MOA1
FWS-002888   8/20/2020                                                20200820_FDEP404_app_package_EPA_MOA_signed
FWS-002902   8/20/2020                                                20200820_FDEP404_app_package_FDEP_Sec_ltr
FWS-002903   8/20/2020                                                20200820_FDEP404_app_package_Final_GC_Statement_signed
FWS-002915   8/20/2020                                                20200820_FDEP404_app_package_Governor_ltr
                                                                      20200820_FDEP404_app_package_Program Description_bates_FWS-
                                                                      002916 --This record must be opened directly from the file folder. The
FWS-002916   8/20/2020                                                names and order of documents in file folder match this index.
                                                                      20200820_FDEP404_app_package_State_ Statutes_Regs_bates_FWS-
                                                                      003386 -- This record must be opened directly from the file folder. The
FWS-003386   8/20/2020                                                names and order of documents in file folder match this index.
                                                                      20200828_EPA_USFWS_email_attach_EPA_ltr_to_GovFL_complete_FDEP
FWS-005604   8/28/2020   DeSantis, Florida Gov    Walker, EPA         _package
FWS-005606   8/28/2020   McGill, EPA              Skipwith, FWS       20200828_EPA_USFWS_email_EPA_rcvd_complete_FDEP_package
FWS-005608   9/2/2020    Miranda, FWS             Gettle, EPA         20200902_EPA_s7_consultation_request_ltr
FWS-005610   9/2/2020                                                 20200902_EPA_s7_consultation_request_ltr_attach_BioEval
FWS-005907   9/17/2020   Duncan, FDEP             Rauschenberger, FWS 20200917_FDEP_email_string_USFWS_FWC_FDEP_staff_404_trng
                                                                      20200917_FDEP_email_string_USFWS_FWC_FDEP_staff_404_trng_attach
FWS-005910   9/17/2020                                                _listed_spp_coord
FWS-005955   9/23/2020 Duncan, FDEP               Rauschenberger, FWS 20200923_USFWS_email_comments_FDEP_staff_trng
FWS-005957   9/28/2020 Skipwith, FWS              Gettle, EPA         20200928_EPA_ltr_to_USFWS_completeFDEP404_Application




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                       Mason (FDEP),
                       Rauschenberger (FWS)                          20200928_FDEP_email_trng_state_staff_endangered_species_coordinati
FWS-005960   9/28/2020 et al.               Duncan, FDEP             on
                                                                     20200928_FDEP_email_trng_state_staff_endangered_species_coordinati
FWS-005961   9/28/2020                                               on_attach_elev_procedures
                                                                     20200928_FDEP_email_trng_state_staff_endangered_species_coordinati
FWS-005962   9/28/2020                                               on_attach_flowcharts
                                                                     20200928_FDEP_email_trng_state_staff_endangered_species_coordinati
FWS-005966   9/28/2020                                               on_attach_listed_spp_ppt
                                                                     20200928_USFWS_email_comments_State_trng_endangered_species_co
FWS-006012   9/28/2020 Goff (FDEP), et al.       Rauschenberger, FWS ord
FWS-006015   11/16/2020 USFWS, FDEP, FWC         USFWS, FDEP, FWC    20201116_USFWS_FDEP_FWC_MOU_appen2_final_USFWS_404BiOp
                                                                     20201117_USFWS final biological opinion on potential approval of FL 404
FWS-006028   11/17/2020                                              assumption
FWS-006116   11/17/2020                                              20201117_USFWS_lit_cited_compilation_USFWS_BiOp_FL_404
                                                                     20201119_USFWS final biological opinion on potential approval of FL 404
FWS-006143   11/19/2020 Gettle, EPA              Tawes, FWS          assum_transm_ltr




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